                 Case 6:24-bk-12519-RB                            Doc 1 Filed 05/07/24 Entered 05/07/24 10:23:54                                  Desc
                                                                  Main Document Page 1 of 46
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                           Central District of California

 Case number (if known):                                            Chapter     11                                                     ❑ Check if this is an
                                                                                                                                           amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                       06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              7419 LLC


    2. All other names debtor used
       in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                  8       4 – 3    3   0    2   4    3   2
       Identification Number (EIN)



    4. Debtor's address                            Principal place of business                                 Mailing address, if different from principal place of
                                                                                                               business




                                                   7419 Via Deldene
                                                   Number          Street                                      Number        Street

                                                   Highland, CA 92346-3933
                                                   City                                  State   ZIP Code      City                              State      ZIP Code

                                                                                                               Location of principal assets, if different from principal
                                                   San Bernardino                                              place of business
                                                   County




                                                                                                               Number        Street



                                                                                                               City                              State      ZIP Code




    5. Debtor's website (URL)                     n/a


    6. Type of debtor                             ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                  ❑
                                                  ❑ Partnership (excluding LLP)
                                                  ❑ Other. Specify:



Official Form 201                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
                Case 6:24-bk-12519-RB                         Doc 1 Filed 05/07/24 Entered 05/07/24 10:23:54                                     Desc
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Debtor      7419 LLC                                                                                            Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ✔ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ❑ None of the above
                                                B. Check all that apply:
                                                ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                                ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                ❑ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                   5      3     1    3

    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ❑ Chapter 7
       debtor filing?

     A debtor who is a “small business
                                                ❑ Chapter 9
     debtor” must check the first subbox. A     ✔ Chapter 11. Check all that apply:
                                                ❑
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V          ❑ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     of chapter 11 (whether or not the                        noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                            operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                       ❑ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                              debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                              proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                              balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                       ❑ A plan is being filed with this petition.
                                                       ❑ Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                              accordance with 11 U.S.C. § 1126(b).
                                                       ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                              Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                              Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                              (Official Form 201A) with this form.
                                                       ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                                ❑ Chapter 12
    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes. District                                       When                    Case number
                                                                                                             MM / DD / YYYY
     If more than 2 cases, attach a                       District                                     When                    Case number
     separate list.
                                                                                                              MM / DD / YYYY

  10. Are any bankruptcy cases pending          ✔ No
                                                ❑
      or being filed by a business partner
      or an affiliate of the debtor?            ❑ Yes. Debtor                                                                 Relationship

     List all cases. If more than 1, attach a             District                                                             When
     separate list.                                                                                                                          MM / DD / YYYY
                                                          Case number, if known



Official Form 201                                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                  Case 6:24-bk-12519-RB               Doc 1 Filed 05/07/24 Entered 05/07/24 10:23:54                                       Desc
                                                      Main Document Page 3 of 46
Debtor        7419 LLC                                                                                   Case number (if known)
             Name


  11. Why is the case filed in this   Check all that apply:
      district?
                                      ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                      ❑
                                         immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                         district.

                                      ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have     ✔ No
                                      ❑
      possession of any real
      property or personal property
                                      ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?                                ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?


                                                ❑ It needs to be physically secured or protected from the weather.
                                                ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                      (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                      options).
                                                ❑ Other
                                                Where is the property?
                                                                          Number        Street




                                                                          City                                         State    ZIP Code
                                                Is the property insured?
                                                ❑ No
                                                ❑ Yes.        Insurance agency
                                                              Contact name
                                                              Phone


          Statistical and administrative information

         13. Debtor’s estimation of   Check one:
             available funds?         ✔ Funds will be available for distribution to unsecured creditors.
                                      ❑
                                      ❑ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                         creditors.

         14. Estimated number of
                                       ✔ 1-49 ❑ 50-99
                                       ❑                                  ❑ 1,000-5,000 ❑ 5,001-10,000             ❑ 25,001-50,000 ❑ 50,000-100,000
             creditors                 ❑ 100-199 ❑ 200-999                ❑ 10,001-25,000                          ❑ More than 100,000

         15. Estimated assets          ❑ $0-$50,000                          ✔ $1,000,001-$10 million
                                                                             ❑                                         ❑ $500,000,001-$1 billion
                                       ❑ $50,001-$100,000                    ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                       ❑ $100,001-$500,000                   ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                       ❑ $500,001-$1 million                 ❑ $100,000,001-$500 million               ❑ More than $50 billion




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 3
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                Case 6:24-bk-12519-RB                       Doc 1 Filed 05/07/24 Entered 05/07/24 10:23:54                                   Desc
Official Form 201A (12/15)                                  Main Document Page 5 of 46
        [If debtor is required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and Exchange Commission pursuant
        to Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the Bankruptcy Code,
        this Exhibit "A" shall be completed and attached to the petition.]

                                                                      [Caption as in Form 416B]

                                              Attachment to Voluntary Petition for Non-Individuals Filing for
                                                             Bankruptcy under Chapter 11

                1. If any of the debtor's securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file number is
                             .

                2. The following financial data is the latest available information and refers to the debtor's condition on   5/6/2024         .

                 a. Total assets                                                                                              $1,900,000.00
                 b. Total debts (including debts listed in 2.c., below)                                                       $1,326,654.00
                 c. Debt securities held by more than 500 holders

                                                                                                                                   Approximate
                                                                                                                                   number of
                                                                                                                                   holders:
                 secured ❑ unsecured ❑ subordinated ❑
                 secured ❑ unsecured ❑ subordinated ❑
                 secured ❑ unsecured ❑ subordinated ❑
                 secured ❑ unsecured ❑ subordinated ❑
                 secured ❑ unsecured ❑ subordinated ❑
                 d. Number of shares of preferred stock
                 e. Number of shares common stock


                Comments, if any:




                3. Brief description of debtor's business        Legal owner of 7419 Via Deldene, Highland, California




                 4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the voting
        securities of debtor:
        Syed Sajjad Hussain




Official Form 201A                          Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
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                    Case 6:24-bk-12519-RB                    Doc 1 Filed 05/07/24 Entered 05/07/24 10:23:54                                         Desc
                                                             Main Document Page 7 of 46
 Fill in this information to identify the case:

 Debtor name                                      7419 LLC

 United States Bankruptcy Court for the:
                             Central District of California

 Case number (if known):                                                                                                                  ❑ Check if this is an
                                                                                                                                             amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                          12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the
unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete             Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code       and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                              creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                              professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                              services, and           or disputed      for value of collateral or setoff to calculate
                                                                              government                               unsecured claim.
                                                                              contracts)                               Total claim, if    Deduction for       Unsecured
                                                                                                                       partially          value of            claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff
1     Eugo Harris P. Ejike                                                    Claim arising from      Disputed                                                    $106,000.00
      21671 Gateway Center Dr Ste 205                                         legal malpractice
      Diamond Bar, CA 91765-2468                                              action



2




3




4




5




6




7




8




Official Form 204                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
                    Case 6:24-bk-12519-RB                Doc 1 Filed 05/07/24 Entered 05/07/24 10:23:54                                        Desc
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Debtor       7419 LLC                                                                                         Case number (if known)
             Name

    Name of creditor and complete         Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code   and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                          creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                          professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                          services, and           or disputed      for value of collateral or setoff to calculate
                                                                          government                               unsecured claim.
                                                                          contracts)                               Total claim, if    Deduction for    Unsecured
                                                                                                                   partially          value of         claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
9




10




11




12




13




14




15




16




17




18




19




20




Official Form 204                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                            page 2
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                Case 6:24-bk-12519-RB                     Doc 1 Filed 05/07/24 Entered 05/07/24 10:23:54                                          Desc
                                                          Main Document Page 10 of 46
 Fill in this information to identify the case:

  Debtor Name       7419 LLC

  United States Bankruptcy Court for the:                Central             District of    California
                                                                                               (State)
  Case number (If
  known):                                                                                                                                   ❑ Check if this is an
                                                                                                                                                amended filing


Official Form 206A/B

Schedule A/B: Assets — Real and Personal Property                                                                                                                12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all
property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book
value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list
them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is
attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
 depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not
 deduct the value of secured claims. See the instructions to understand the terms used in this form.

      Part 1:      Cash and cash equivalents

 1.      Does the debtor have any cash or cash equivalents?

         ✔ No. Go to Part 2.
         ❑
         ❑ Yes. Fill in the information below.
         All cash or cash equivalents owned or controlled by the debtor                                                                     Current value of
                                                                                                                                            debtor’s interest

 2.      Cash on hand

 3.      Checking, savings, money market, or financial brokerage accounts (Identify all)

         Name of institution (bank or brokerage firm)           Type of account                           Last 4 digits of account number

         3.1.

         3.2.

 4.      Other cash equivalents (Identify all)

         4.1

         4.2


 5.      Total of Part 1
         Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.


      Part 2:      Deposits and prepayments

 6.      Does the debtor have any deposits or prepayments?

         ✔ No. Go to Part 3.
         ❑
         ❑ Yes. Fill in the information below.
                                                                                                                                            Current value of
                                                                                                                                            debtor’s interest

 7.      Deposits, including security deposits and utility deposits

         Description, including name of holder of deposit

         7.1



Official Form 206A/B                                    Schedule A/B: Assets — Real and Personal Property                                                       page 1
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Debtor           7419 LLC                                                                                 Case number (if known)
                 Name




         7.2


 8.      Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

         Description, including name of holder of prepayment

         8.1

         8.2


 9.      Total of Part 2
         Add lines 7 through 8. Copy the total to line 81.


      Part 3:       Accounts receivable

 10.     Does the debtor have any accounts receivable?

         ✔ No. Go to Part 4.
         ❑
         ❑ Yes. Fill in the information below.
                                                                                                                                         Current value of
                                                                                                                                         debtor’s interest

 11.     Accounts receivable

         11a. 90 days old or less:                                    -                                          =.....   ➔
                                     face amount                          doubtful or uncollectible accounts

         11b. Over 90 days old:                                       -                                          =.....   ➔
                                     face amount                          doubtful or uncollectible accounts


 12.     Total of Part 3
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.


      Part 4:       Investments

 13.     Does the debtor own any investments?

         ✔ No. Go to Part 5.
         ❑
         ❑ Yes. Fill in the information below.
                                                                                                                 Valuation method used   Current value of
                                                                                                                 for current value       debtor’s interest

 14.     Mutual funds or publicly traded stocks not included in Part 1

         Name of fund or stock:

         14.1

         14.2


 15.     Non-publicly traded stock and interests in incorporated and unincorporated businesses,
         including any interest in an LLC, partnership, or joint venture

         Name of entity:                                                                     % of
                                                                                             ownership:

         15.1.

         15.2.




Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                                     page 2
                Case 6:24-bk-12519-RB                    Doc 1 Filed 05/07/24 Entered 05/07/24 10:23:54                                  Desc
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Debtor          7419 LLC                                                                           Case number (if known)
                Name




 16.     Government bonds, corporate bonds, and other negotiable and non-negotiable
         instruments not included in Part 1

         Describe:

         16.1

         16.2


 17.     Total of Part 4
         Add lines 14 through 16. Copy the total to line 83.


   Part 5:           Inventory, excluding agriculture assets

 18.     Does the debtor own any inventory (excluding agriculture assets)?

         ✔ No. Go to Part 6.
         ❑
         ❑ Yes. Fill in the information below.
         General description                                   Date of the last     Net book value of      Valuation method used   Current value of
                                                               physical inventory   debtor's interest      for current value       debtor’s interest

                                                                                    (Where available)

 19.     Raw materials


                                                               MM / DD / YYYY


 20.     Work in progress


                                                               MM / DD / YYYY


 21.     Finished goods, including goods held for resale


                                                               MM / DD / YYYY


 22.     Other inventory or supplies


                                                               MM / DD / YYYY


 23.     Total of Part 5
         Add lines 19 through 22. Copy the total to line 84.


 24.     Is any of the property listed in Part 5 perishable?

         ✔ No
         ❑
         ❑ Yes
 25.     Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         ✔ No
         ❑
         ❑ Yes. Book value                           Valuation method                      Current value

 26.     Has any of the property listed in Part 5 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 6:           Farming and fishing-related assets (other than titled motor vehicles and land)




Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                                page 3
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Debtor         7419 LLC                                                                           Case number (if known)
              Name




 27.     Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

         ✔ No. Go to Part 7.
         ❑
         ❑ Yes. Fill in the information below.
         General description                                                       Net book value of      Valuation method used   Current value of
                                                                                   debtor's interest      for current value       debtor’s interest

                                                                                   (Where available)

 28.     Crops—either planted or harvested




 29.     Farm animals Examples: Livestock, poultry, farm-raised fish




 30.     Farm machinery and equipment (Other than titled motor vehicles)




 31.     Farm and fishing supplies, chemicals, and feed




 32.     Other farming and fishing-related property not already listed in Part 6




 33.     Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.


 34.     Is the debtor a member of an agricultural cooperative?

         ✔ No
         ❑
         ❑ Yes. Is any of the debtor’s property stored at the cooperative?
            ❑ No
            ❑ Yes
 35.     Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

         ✔ No
         ❑
         ❑ Yes. Book value                           Valuation method                     Current value

 36.     Is a depreciation schedule available for any of the property listed in Part 6?

         ✔ No
         ❑
         ❑ Yes
 37.     Has any of the property listed in Part 6 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 7:         Office furniture, fixtures, and equipment; and collectibles

 38.     Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         ✔ No. Go to Part 8.
         ❑
         ❑ Yes. Fill in the information below.



Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                               page 4
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Debtor          7419 LLC                                                                             Case number (if known)
                Name




         General description                                                          Net book value of     Valuation method used   Current value of
                                                                                      debtor's interest     for current value       debtor’s interest

                                                                                      (Where available)

 39.     Office furniture




 40.     Office fixtures




 41.     Office equipment, including all computer equipment and
         communication systems equipment and software




 42.     Collectibles Examples: Antiques and figurines; paintings, prints, or other
         artwork; books, pictures, or other art objects; china and crystal; stamp,
         coin, or baseball card collections; other collections, memorabilia, or
         collectibles

         42.1

         42.2

         42.3


 43.     Total of Part 7
         Add lines 39 through 42. Copy the total to line 86.


 44.     Is a depreciation schedule available for any of the property listed in Part 7?

         ✔ No
         ❑
         ❑ Yes
 45.     Has any of the property listed in Part 7 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 8:         Machinery, equipment, and vehicles

 46.     Does the debtor own or lease any machinery, equipment, or vehicles?

         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
         General description                                                          Net book value of     Valuation method used   Current value of
                                                                                      debtor's interest     for current value       debtor’s interest
         Include year, make, model, and identification numbers (i.e., VIN, HIN, or
         N-number)                                                                    (Where available)

 47.     Automobiles, vans, trucks, motorcycles, trailers, and titled farm
         vehicles

         47.1

         47.2

         47.3

         47.4




Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                                 page 5
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Debtor          7419 LLC                                                                              Case number (if known)
                Name




 48.     Watercraft, trailers, motors, and related accessories Examples:
         Boats, trailers, motors, floating homes, personal watercraft, and fishing
         vessels

         48.1

         48.2


 49.     Aircraft and accessories

         49.1

         49.2


 50.     Other machinery, fixtures, and equipment (excluding farm
         machinery and equipment)




 51.     Total of Part 8
         Add lines 47 through 50. Copy the total to line 87.


 52.     Is a depreciation schedule available for any of the property listed in Part 8?

         ✔ No
         ❑
         ❑ Yes
 53.     Has any of the property listed in Part 8 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 9:         Real property

 54.     Does the debtor own or lease any real property?

         ❑ No. Go to Part 10.
         ✔ Yes. Fill in the information below.
         ❑
 55.     Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

         Description and location of property                  Nature and extent      Net book value of        Valuation method used   Current value of
         Include street address or other description such      of debtor’s interest   debtor's interest        for current value       debtor’s interest
         as Assessor Parcel Number (APN), and type of          in property
         property (for example, acreage, factory,                                     (Where available)
         warehouse, apartment or office building), if
         available.

         55.1 7419 Via Deldene,Highland                        Fee Simple                       unknown        Zillow                          $1,900,000.00
                Highland, CA 92346


 56.     Total of Part 9
                                                                                                                                             $1,900,000.00
         Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.


 57.     Is a depreciation schedule available for any of the property listed in Part 9?

         ✔ No
         ❑
         ❑ Yes
 58.     Has any of the property listed in Part 9 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes

Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                                   page 6
             Case 6:24-bk-12519-RB                       Doc 1 Filed 05/07/24 Entered 05/07/24 10:23:54                                      Desc
                                                         Main Document Page 16 of 46
Debtor         7419 LLC                                                                               Case number (if known)
              Name




  Part 10:          Intangibles and intellectual property

 59.     Does the debtor have any interests in intangibles or intellectual property?

         ✔ No. Go to Part 11.
         ❑
         ❑ Yes. Fill in the information below.
         General description                                                          Net book value of        Valuation method used   Current value of
                                                                                      debtor's interest        for current value       debtor’s interest

                                                                                      (Where available)

 60.     Patents, copyrights, trademarks, and trade secrets




 61.     Internet domain names and websites




 62.     Licenses, franchises, and royalties




 63.     Customer lists, mailing lists, or other compilations




 64.     Other intangibles, or intellectual property




 65.     Goodwill




 66.     Total of Part 10
         Add lines 60 through 65. Copy the total to line 89.


 67.     Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?

         ✔ No
         ❑
         ❑ Yes
 68.     Is there an amortization or other similar schedule available for any of the property listed in Part 10?

         ✔ No
         ❑
         ❑ Yes
 69.     Has any of the property listed in Part 10 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
  Part 11:          All other assets

 70.     Does the debtor own any other assets that have not yet been reported on this form?
         Include all interests in executory contracts and unexpired leases not previously reported on this form.

         ✔ No. Go to Part 12.
         ❑
         ❑ Yes. Fill in the information below.
                                                                                                                                       Current value of
                                                                                                                                       debtor’s interest


Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                                   page 7
             Case 6:24-bk-12519-RB                          Doc 1 Filed 05/07/24 Entered 05/07/24 10:23:54                           Desc
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Debtor         7419 LLC                                                                             Case number (if known)
               Name




 71.     Notes receivable

         Description (include name of obligor)

                                                                                   –                                         =   ➔
                                                               Total face amount       doubtful or uncollectible amount


 72.     Tax refunds and unused net operating losses (NOLs)

         Description (for example, federal, state, local)

                                                                                                      Tax year

                                                                                                      Tax year

                                                                                                      Tax year


 73.     Interests in insurance policies or annuities




 74.     Causes of action against third parties (whether or not a lawsuit has
         been filed)



         Nature of claim

         Amount requested


 75.     Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims



         Nature of claim

         Amount requested


 76.     Trusts, equitable or future interests in property




 77.     Other property of any kind not already listed Examples: Season
         tickets, country club membership




 78.     Total of Part 11
         Add lines 71 through 77. Copy the total to line 90.


 79.     Has any of the property listed in Part 11 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes




Official Form 206A/B                                    Schedule A/B: Assets — Real and Personal Property                                   page 8
               Case 6:24-bk-12519-RB                                     Doc 1 Filed 05/07/24 Entered 05/07/24 10:23:54                                                       Desc
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Debtor           7419 LLC                                                                                                            Case number (if known)
                Name




  Part 12:            Summary


 In Part 12 copy all of the totals from the earlier parts of the form.


         Type of property                                                                                    Current value of                          Current value
                                                                                                             personal property                         of real property

 80.     Cash, cash equivalents, and financial assets. Copy line 5, Part 1.

 81.     Deposits and prepayments. Copy line 9, Part 2.

 82.     Accounts receivable. Copy line 12, Part 3.

 83.     Investments. Copy line 17, Part 4.

 84.     Inventory. Copy line 23, Part 5.

 85.     Farming and fishing-related assets. Copy line 33, Part 6.

 86.     Office furniture, fixtures, and equipment; and collectibles.
         Copy line 43, Part 7.

 87.     Machinery, equipment, and vehicles. Copy line 51, Part 8.


 88.     Real property. Copy line 56, Part 9..........................................................................................   ➔                 $1,900,000.00


 89.     Intangibles and intellectual property. Copy line 66, Part 10.

 90.     All other assets. Copy line 78, Part 11.                                                        +

 91.     Total. Add lines 80 through 90 for each column............................91a.                                             $0.00     + 91b.       $1,900,000.00



 92.     Total of all property on Schedule A/B. Lines 91a + 91b = 92. .....................................................................................................   $1,900,000.00




Official Form 206A/B                                                 Schedule A/B: Assets — Real and Personal Property                                                               page 9
                Case 6:24-bk-12519-RB                         Doc 1 Filed 05/07/24 Entered 05/07/24 10:23:54                                                 Desc
                                                              Main Document Page 19 of 46
 Fill in this information to identify the case:

     Debtor name     7419 LLC

     United States Bankruptcy Court for the:                 Central                 District of        California
                                                                                                   (State)
     Case number (if known):                                                                                                                         ❑ Check if this is an
                                                                                                                                                         amended filing

Official Form 206D

Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15

Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor’s property?
       ❑ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
      Part 1:       List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more than one                  Column A                       Column B
        secured claim, list the creditor separately for each claim.                                                        Amount of claim                Value of collateral
                                                                                                                           Do not deduct the value        that supports this
                                                                                                                           of collateral.                 claim

 2.1 Creditor’s name                                         Describe debtor’s property that is subject to a lien
         San Bernardino Tax Collector                        7419 Via Deldene,Highland Highland, CA 92346                               $20,654.00             $1,900,000.00

        Creditor’s mailing address                           Describe the lien

         268 W Hospitality Ln Fl 1                           Property tax

         Sn Bernrdno, CA 92415-0900                          Is the creditor an insider or related party?
                                                             ✔ No
                                                             ❑
                                                             ❑ Yes
        Creditor’s email address, if known

                                                             Is anyone else liable on this claim?
        Date debt was incurred              2024             ✔ No
                                                             ❑
                                                             ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        Last 4 digits of account       9    0   5       6
        number                                               As of the petition filing date, the claim is:
                                                             Check all that apply.
        Do multiple creditors have an interest in
        the same property?                                   ❑ Contingent
        ❑ No                                                 ❑ Unliquidated
        ✔ Yes. Specify each creditor, including this
        ❑                                                    ❑ Disputed
                 creditor, and its relative priority.
                 1) Val-Chris Investments; 2) San
                 Bernardino Tax Collector




 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                $1,220,654.00
        Page, if any.


Official Form 206D                                      Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
             Case 6:24-bk-12519-RB                     Doc 1 Filed 05/07/24 Entered 05/07/24 10:23:54                                           Desc
                                                       Main Document Page 20 of 46
Debtor       7419 LLC                                                                              Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.2 Creditor’s name                                   Describe debtor’s property that is subject to a lien
      Val-Chris Investments                           7419 Via Deldene,Highland Highland, CA 92346                           $1,200,000.00        $1,900,000.00

     Creditor’s mailing address                       Describe the lien

      2601 Main St Ste 400                            Deed of trust

      Irvine, CA 92614-4213                           Is the creditor an insider or related party?
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
     Creditor’s email address, if known

                                                      Is anyone else liable on this claim?
     Date debt was incurred                           ✔ No
                                                      ❑
                                                      ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Last 4 digits of account
     number                                           As of the petition filing date, the claim is:
                                                      Check all that apply.
     Do multiple creditors have an interest in
     the same property?                               ❑ Contingent
     ❑ No                                             ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                ❑ Disputed
              relative priority?
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔ Yes. The relative priority of creditors
         ❑
                  is specified on lines 2.1




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 2 of 2
                 Case 6:24-bk-12519-RB                       Doc 1 Filed 05/07/24 Entered 05/07/24 10:23:54                                   Desc
                                                             Main Document Page 21 of 46
 Fill in this information to identify the case:

 Debtor name                                      7419 LLC

 United States Bankruptcy Court for the:
                           Central District of California

 Case number (if known):                                                                                                           ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets
- Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries
in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ✔ No. Go to Part 2.
        ❑
        ❑ Yes. Go to line 2.
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
       with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                              Total claim                  Priority amount

       Priority creditor’s name and mailing address           As of the petition filing date, the claim is:
2.1                                                           Check all that apply.
                                                              ❑ Contingent
                                                              ❑ Unliquidated
                                                              ❑ Disputed
       Date or dates debt was incurred                        Basis for the claim:



       Last 4 digits of account                               Is the claim subject to offset?

       number                                                 ❑ No
       Specify Code subsection of PRIORITY unsecured
                                                              ❑ Yes
       claim: 11 U.S.C. § 507(a)
       Priority creditor’s name and mailing address           As of the petition filing date, the claim is:
2.2                                                           Check all that apply.
                                                              ❑ Contingent
                                                              ❑ Unliquidated
                                                              ❑ Disputed
       Date or dates debt was incurred                        Basis for the claim:



       Last 4 digits of account                               Is the claim subject to offset?

       number                                                 ❑ No
       Specify Code subsection of PRIORITY unsecured
                                                              ❑ Yes
       claim: 11 U.S.C. § 507(a)




Official Form 206E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             page 1 of 3
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Debtor        7419 LLC                                                                                        Case number (if known)
             Name

 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
         claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                       Amount of claim

3.1 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $106,000.00
                                                                            Check all that apply.
                                                                            ❑ Contingent
       Eugo Harris P. Ejike

       21671 Gateway Center Dr Ste 205                                      ❑ Unliquidated
                                                                            ✔ Disputed
                                                                            ❑
       Diamond Bar, CA 91765-2468
                                                                                                 Claim arising from
                                                                                                 legal malpractice
       Date or dates debt was incurred         2018 - 2021                  Basis for the claim: action
       Last 4 digits of account number                                      Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:
3.2                                                                         Check all that apply.
                                                                            ❑ Contingent
                                                                            ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
       Date or dates debt was incurred                                      Is the claim subject to offset?
       Last 4 digits of account number                                      ❑ No
                                                                            ❑ Yes
       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:
3.3                                                                         Check all that apply.
                                                                            ❑ Contingent
                                                                            ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
       Date or dates debt was incurred                                      Is the claim subject to offset?
       Last 4 digits of account number                                      ❑ No
                                                                            ❑ Yes
       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:
3.4                                                                         Check all that apply.
                                                                            ❑ Contingent
                                                                            ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
       Date or dates debt was incurred                                      Is the claim subject to offset?
       Last 4 digits of account number                                      ❑ No
                                                                            ❑ Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                              page 2 of 3
                 Case 6:24-bk-12519-RB                 Doc 1 Filed 05/07/24 Entered 05/07/24 10:23:54                       Desc
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Debtor       7419 LLC                                                                             Case number (if known)
            Name

 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                   Total of claim amounts



  5a. Total claims from Part 1                                                     5a.              $0.00



  5b. Total claims from Part 2                                                     5b.
                                                                                          +         $106,000.00



  5c. Total of Parts 1 and 2                                                       5c.              $106,000.00
      Lines 5a + 5b = 5c.




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                            page 3 of 3
                  Case 6:24-bk-12519-RB                      Doc 1 Filed 05/07/24 Entered 05/07/24 10:23:54                                  Desc
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 Fill in this information to identify the case:

 Debtor name                                      7419 LLC

 United States Bankruptcy Court for the:
                           Central District of California

 Case number (if known):                                      Chapter   11                                                        ❑ Check if this is an
                                                                                                                                     amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                           12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
 1.    Does the debtor have any executory contracts or unexpired leases?
       ✔ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ❑
       ❑ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form
       206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with whom the
                                                                                          debtor has an executory contract or unexpired lease

       State what the contract or
2.1    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract



       State what the contract or
2.2    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract



       State what the contract or
2.3    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract



       State what the contract or
2.4    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract




Official Form 206G                                      Schedule G: Executory Contracts and Unexpired Leases                                              page 1 of 1
             Case 6:24-bk-12519-RB                      Doc 1 Filed 05/07/24 Entered 05/07/24 10:23:54                                      Desc
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 Fill in this information to identify the case:

  Debtor name          7419 LLC


  United States Bankruptcy Court for the:              Central           District of        California
                                                                                       (State)
  Case number (If known):                                                                                                            ❑ Check if this is an
                                                                                                                                          amended filing


Official Form 206H

Schedule H: Codebtors                                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
Attach the Additional Page to this page.


  1.    Does the debtor have any codebtors?
        ✔ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ❑
        ❑ Yes
  2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
        Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
        creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                              Column 2: Creditor

                                                                                                                                      Check all schedules
         Name                               Mailing address                                              Name
                                                                                                                                      that apply:

 2.1                                                                                                                                  ❑D
                                            Street                                                                                    ❑ E/F
                                                                                                                                      ❑G

                                            City                 State                  ZIP Code

 2.2                                                                                                                                  ❑D
                                            Street                                                                                    ❑ E/F
                                                                                                                                      ❑G

                                            City                 State                  ZIP Code

 2.3                                                                                                                                  ❑D
                                            Street                                                                                    ❑ E/F
                                                                                                                                      ❑G

                                            City                 State                  ZIP Code

 2.4                                                                                                                                  ❑D
                                            Street                                                                                    ❑ E/F
                                                                                                                                      ❑G

                                            City                 State                  ZIP Code




Official Form 206H                                                Schedule H: Codebtors                                                        page 1 of    2
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Debtor       7419 LLC                                                                     Case number (if known)
            Name


                 Additional Page if Debtor Has More Codebtors

                Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                             Check all schedules
         Name                         Mailing address                                           Name
                                                                                                                             that apply:

 2.5                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code

 2.6                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code




Official Form 206H                                             Schedule H: Codebtors                                             page   2   of     2
                       Case 6:24-bk-12519-RB                                         Doc 1 Filed 05/07/24 Entered 05/07/24 10:23:54                                                                            Desc
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 Fill in this information to identify the case:

 Debtor name                                                    7419 LLC

 United States Bankruptcy Court for the:
                                     Central District of California

 Case number (if known):                                                                 Chapter           11                                                                                     ❑ Check if this is an
                                                                                                                                                                                                      amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                        12/15

 Part 1: Summary of Assets



 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
           Copy line 88 from Schedule A/B........................................................................................................................................                                 $1,900,000.00

    1b. Total personal property:
           Copy line 91A from Schedule A/B......................................................................................................................................                                            $0.00
    1c. Total of all property:
           Copy line 92 from Schedule A/B.........................................................................................................................................
                                                                                                                                                                                                                  $1,900,000.00




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                  $1,220,654.00


 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                               $0.00

    3b. Total amount of claims of non-priority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                           +           $106,000.00




 4. Total liabilities..............................................................................................................................................................................               $1,326,654.00
    Lines 2 + 3a + 3b




Official Form 206Sum                                                                           Summary of Assets and Liabilities for Non-Individuals                                                                          page 1
                   Case 6:24-bk-12519-RB                      Doc 1 Filed 05/07/24 Entered 05/07/24 10:23:54                              Desc
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 Fill in this information to identify the case:

 Debtor name                                      7419 LLC

 United States Bankruptcy Court for the:
                            Central District of California

 Case number (if known):                                                                                                       ❑ Check if this is an
                                                                                                                                   amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s
name and case number (if known).



 Part 1: Income


 1.     Gross revenue from business

         ✔ None
         ❑
        Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                 Gross revenue
        may be a calendar year                                                             Check all that apply               (before deductions and
                                                                                                                              exclusions)

       From the beginning of the                                                         ❑ Operating a business
                                        From 01/01/2024
                                                                                         ❑ Other
       fiscal year to filing date:                                to    Filing date
                                                  MM/ DD/ YYYY


       For prior year:                  From 01/01/2023           to    12/31/2023       ❑ Operating a business
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other

       For the year before that:        From 01/01/2022           to    12/31/2022       ❑ Operating a business
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other


 2.     Non-business revenue
         Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
         royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         ✔ None
         ❑
                                                                                         Description of sources of revenue    Gross revenue from each
                                                                                                                              source
                                                                                                                              (before deductions and
                                                                                                                              exclusions)

      From the beginning of the
      fiscal year to filing date:      From 01/01/2024           to    Filing date
                                                  MM/ DD/ YYYY


      For prior year:                  From 01/01/2023           to    12/31/2023
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY


      For the year before that:        From 01/01/2022           to    12/31/2022
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY



Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 1
Debtor
                    Case 6:24-bk-12519-RB
                 7419 LLC
                                                            Doc 1 Filed 05/07/24 Entered 05/07/24 10:23:54                                        Desc
                 Name
                                                            Main Document Page 29 of 46 Case number (if known)

 Part 2: List Certain Transfers Made Before Filing for Bankruptcy
 3.     Certain payments or transfers to creditors within 90 days before filing this case
        List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing
        this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
        years after that with respect to cases filed on or after the date of adjustment.)

        ✔ None
        ❑
         Creditor’s name and address                        Dates              Total amount or value           Reasons for payment or transfer
                                                                                                               Check all that apply

 3.1.                                                                                                          ❑ Secured debt
        Creditor's name                                                                                        ❑ Unsecured loan repayments
                                                                                                               ❑ Suppliers or vendors
        Street                                                                                                 ❑ Services
                                                                                                               ❑ Other

        City                        State    ZIP Code



 4.     Payments or other transfers of property made within 1 year before filing this case that benefited any insider
        List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
        co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be
        adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
        Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
        relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
        ✔ None
        ❑
         Insider’s name and address                         Dates              Total amount or value           Reasons for payment or transfer


 4.1.
        Creditor's name


        Street




        City                        State    ZIP Code

         Relationship to debtor




 5.     Repossessions, foreclosures, and returns
        List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
        foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the property                               Date                    Value of property




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                           page 2
Debtor
                    Case 6:24-bk-12519-RB
                 7419 LLC
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                                                            Main Document Page 30 of 46 Case number (if known)
 5.1.
        Creditor's name


        Street




        City                        State     ZIP Code



 6.     Setoffs
        List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
        debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the action creditor took                    Date action was         Amount
                                                                                                                       taken

 6.1.
        Creditor's name
                                                             XXXX–
        Street




        City                        State     ZIP Code




 Part 3: Legal Actions or Assignments
 7.     Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
        List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
        capacity—within 1 year before filing this case.
        ❑ None
 7.1.    Case title                              Nature of case                          Court or agency's name and address                    Status of case

        UGO-HARRIS v.                           Fraudulent transfer                     San Bernardino County Superior                        ✔ Pending
                                                                                                                                              ❑
        HUSSAIN, 7419 LLC                                                               Court
                                                                                        Name
                                                                                                                                              ❑ On appeal
                                                                                        247 W 3rd St                                          ❑ Concluded
         Case number                                                                    Street

        CIVSB2133004
                                                                                        San Bernardino, CA 92415-0210
                                                                                        City                         State     ZIP Code

 7.2.    Case title                              Nature of case                          Court or agency's name and address                    Status of case

        SYED SAJJAD HUSSAIN                     Malpractice                             San Bernardino County Superior                        ✔ Pending
                                                                                                                                              ❑
        v. UGO-HARRIS PETER                                                             Court
                                                                                        Name
                                                                                                                                              ❑ On appeal
        EJIKE
                                                                                        247 W 3rd St                                          ❑ Concluded
                                                                                        Street
         Case number

        CIVDS1826501                                                                    San Bernardino, CA 92415-0210
                                                                                        City                         State     ZIP Code



 8.     Assignments and receivership
        List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
        receiver, custodian, or other court-appointed officer within 1 year before filing this case.
        ✔ None
        ❑

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                  Name
                                                             Main Document Page 31 of 46 Case number (if known)
 8.1.     Custodian’s name and address                     Description of the property                          Value


         Custodian’s name
                                                           Case title                                           Court name and address
         Street
                                                                                                               Name

                                                           Case number
                                                                                                               Street
         City                        State     ZIP Code



                                                           Date of order or assignment                         City                          State    ZIP Code




 Part 4: Certain Gifts and Charitable Contributions
 9.      List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts
         to that recipient is less than $1,000
         ✔ None
         ❑
 9.1.     Recipient’s name and address                      Description of the gifts or contributions                   Dates given          Value


         Recipient’s name


         Street




         City                        State     ZIP Code


          Recipient’s relationship to debtor




 Part 5: Certain Losses
 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
         ✔ None
         ❑
           Description of the property lost and how the         Amount of payments received for the loss                      Date of loss      Value of property
           loss occurred                                        If you have received payments to cover the loss, for                            lost
                                                                example, from insurance, government compensation,
                                                                or tort liability, list the total received.
                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).


 10.1.




 Part 6: Certain Payments or Transfers
 11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
         case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a
         bankruptcy case.
         ❑ None


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                  Name
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 11.1.    Who was paid or who received the transfer?            If not money, describe any property transferred           Dates              Total amount or
                                                                                                                                             value

         Nexus Bankruptcy                                      Attorney's fees, filing fee                              04/30/2024                   $5,738.00

          Address

         3090 Bristol Street #400
         Street



         Costa Mesa, CA 92626
         City                        State    ZIP Code


          Email or website address

         ben@nexusbk.com

          Who made the payment, if not debtor?

         Manager, Syed Sajjad Hussain




 12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
         self-settled trust or similar device.
         Do not include transfers already listed on this statement.
         ✔ None
         ❑
 12.1.     Name of trust or device                            Describe any property transferred                        Dates transfers       Total amount or
                                                                                                                       were made             value




           Trustee




 13. Transfers not already listed on this statement
         List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2
         years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
         outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
         ✔ None
         ❑




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                Name
                                                                Main Document Page 33 of 46 Case number (if known)
 13.1.    Who received the transfer?                             Description of property transferred or payments           Date transfer      Total amount or
                                                                 received or debts paid in exchange                        was made           value




          Address


         Street




         City                        State       ZIP Code


          Relationship to debtor




 Part 7: Previous Locations
 14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         ✔ Does not apply
         ❑
          Address                                                                                              Dates of occupancy

 14.1.
                                                                                                              From                     To
         Street




         City                        State       ZIP Code




 Part 8: Health Care Bankruptcies
 15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          —diagnosing or treating injury, deformity, or disease, or
          —providing any surgical, psychiatric, drug treatment, or obstetric care?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
          Facility name and address                         Nature of the business operation, including type of services the       If debtor provides meals
                                                            debtor provides                                                        and housing, number of
                                                                                                                                   patients in debtor’s care

 15.1.
         Facility name


         Street                                             Location where patient records are maintained(if different from        How are records kept?
                                                            facility address). If electronic, identify any service provider.
         City                   State    ZIP Code                                                                                 Check all that apply:
                                                                                                                                  ❑ Electronically
                                                                                                                                  ❑ Paper




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                 Name
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 Part 9: Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?
        ✔ No.
        ❑
        ❑ Yes. State the nature of the information collected and retained.
                   Does the debtor have a privacy policy about that information?
                   ❑ No
                   ❑ Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-
     sharing plan made available by the debtor as an employee benefit?
        ✔ No. Go to Part 10.
        ❑
        ❑ Yes. Does the debtor serve as plan administrator?
               ❑ No. Go to Part 10.
               ❑ Yes. Fill in below:
                        Name of plan                                                                 Employer identification number of the plan

                                                                                                    EIN:        –

                         Has the plan been terminated?
                         ❑ No
                         ❑ Yes


 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed financial accounts
        Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved,
        or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
        cooperatives, associations, and other financial institutions.
        ✔ None
        ❑
         Financial institution name and address           Last 4 digits of account      Type of account             Date account was          Last balance
                                                          number                                                    closed, sold, moved,      before closing
                                                                                                                    or transferred            or transfer

 18.1
                                                          XXXX–                        ❑ Checking
        Name
                                                                                       ❑ Savings
                                                                                       ❑ Money market
                                                                                       ❑ Brokerage
        Street


                                                                                       ❑ Other
        City                       State   ZIP Code
 19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
        ✔ None
        ❑




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                  Name
                                                             Main Document Page 35 of 46 Case number (if known)
 19.1     Depository institution name and address          Names of anyone with access to it            Description of the contents                Does debtor
                                                                                                                                                   still have it?

                                                                                                                                                  ❑ No
                                                                                                                                                  ❑ Yes
         Name


         Street

                                                           Address

         City                      State     ZIP Code


 20. Off-premises storage
         List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the
         debtor does business.
         ✔ None
         ❑
 20.1     Facility name and address                        Names of anyone with access to it            Description of the contents                Does debtor
                                                                                                                                                   still have it?

                                                                                                                                                  ❑ No
                                                                                                                                                  ❑ Yes
         Name


         Street

                                                           Address

         City                      State     ZIP Code




 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own
 21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
         leased or rented property.
         ✔ None
         ❑
          Owner’s name and address                                Location of the property                     Description of the property                 Value



         Name


         Street




         City                        State     ZIP Code




 Part 12: Details About Environmental Information


 For the purpose of Part 12, the following definitions apply:
        Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
        medium affected (air, land, water, or any other medium).
        Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
        owned, operated, or utilized.
        Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
        harmful substance.



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 Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Case title                               Court or agency name and address                     Nature of the case                         Status of case

                                                                                                                                                 ❑ Pending
         Case number
                                                 Name
                                                                                                                                                 ❑ On appeal
                                                                                                                                                 ❑ Concluded
                                                 Street




                                                 City                        State   ZIP Code

 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Site name and address                    Governmental unit name and address                   Environmental law, if known                Date of notice



      Name                                       Name


      Street                                     Street




      City                 State   ZIP Code      City                        State   ZIP Code

 24. Has the debtor notified any governmental unit of any release of hazardous material?
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Site name and address                    Governmental unit name and address                   Environmental law, if known                Date of notice



      Name                                       Name


      Street                                     Street




      City                 State   ZIP Code      City                        State   ZIP Code




 Part 13: Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
      List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this
      information even if already listed in the Schedules.
      ✔ None
      ❑




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           Business name and address                Describe the nature of the business                       Employer Identification number
                                                                                                              Do not include Social Security number or ITIN.
 25.1.
                                                                                                             EIN:          –
          Name
                                                                                                              Dates business existed

          Street
                                                                                                             From                 To



          City               State   ZIP Code


 26. Books, records, and financial statements
 26a.      List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
           ✔None
           ❑
            Name and address                                                                                   Dates of service

 26a.1.
                                                                                                              From                 To
           Name


           Street




           City                                         State                  ZIP Code


 26b.      List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
           statement within 2 years before filing this case.
           ✔None
           ❑
            Name and address                                                                                   Dates of service

 26b.1.
                                                                                                              From                 To
           Name


           Street




           City                                         State                  ZIP Code


 26c.      List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
           ✔None
           ❑
            Name and address                                                                                   If any books of account and records are
                                                                                                               unavailable, explain why
 26c.1.


           Name


           Street




           City                                         State                  ZIP Code

 26d.    List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.
         ✔None
         ❑


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                 Name
                                                              Main Document Page 38 of 46 Case number (if known)
           Name and address

 26d.1.

          Name


          Street




          City                                              State                  ZIP Code


 27. Inventories
         Have any inventories of the debtor’s property been taken within 2 years before filing this case?
         ✔ No
         ❑
         ❑ Yes. Give the details about the two most recent inventories.
          Name of the person who supervised the taking of the inventory                           Date of             The dollar amount and basis (cost, market, or
                                                                                                  inventory           other basis) of each inventory




          Name and address of the person who has possession of inventory records

 27.1.

         Name


         Street




         City                                       State               ZIP Code

 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
     control of the debtor at the time of the filing of this case.
          Name                            Address                                                          Position and nature of any            % of interest, if any
                                                                                                           interest

         Syed Sajjad Hussain             7419 Via Deldene Highland, CA                                    Manager/owner,                                   100.00%
                                         92346-3933

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of
     the debtor, or shareholders in control of the debtor who no longer hold these positions?
         ✔ No
         ❑
         ❑ Yes. Identify below.
          Name                            Address                                                       Position and nature of any       Period during which
                                                                                                        interest                         position or interest was
                                                                                                                                         held

                                                                                                    ,                                     From
                                                                                                                                          To

 30. Payments, distributions, or withdrawals credited or given to insiders
         Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
         credits on loans, stock redemptions, and options exercised?
         ✔ No
         ❑
         ❑ Yes. Identify below.




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B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                                Central District of California

In re        7419 LLC

                                                                                                                           Case No.

Debtor                                                                                                                     Chapter                      11


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                       $7,000.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                      $4,000.00

        Balance Due ................................................................................................................................................      $3,000.00

2.      The source of the compensation paid to me was:

        ❑ Debtor                         ✔ Other (specify)
                                         ❑                                Manager/Owner, Syed Sajjad Hussain

3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        ❑
        law firm.

        ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:




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B2030 (Form 2030) (12/15)


                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        05/06/2024                             /s/Benjamin Heston
                Date                                         Benjamin Heston
                                                             Signature of Attorney
                                                                                               Bar Number: 297798
                                                                                                 Nexus Bankruptcy
                                                                                            3090 Bristol Street #400
                                                                                             Costa Mesa, CA 92626
                                                                                             Phone: (949) 312-1377

                                                                               Nexus Bankruptcy
                                                            Name of law firm




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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. & Email Address   FOR COURT USE ONLY

 Benjamin Heston
 Bar Number: 297798
 Nexus Bankruptcy
 3090 Bristol Street #400
 Costa Mesa, CA 92626
 Phone: (949) 312-1377
 Email: ben@nexusbk.com




 ✔ Attorney for: 7419 LLC
 ❑

                                              UNITED STATES BANKRUPTCY COURT
                                       CENTRAL DISTRICT OF CALIFORNIA - RIVERSIDE DIVISION

 In re:
                                                                                        CASE NO.:
 7419 LLC
                                                                                        ADVERSARY NO.:
                                                                                        CHAPTER: 11
                                                                         Debtor(s).

                                                                                              CORPORATE OWNERSHIP STATEMENT
                                                                                                 PURSUANT TO RBP 1007(A)(1)
                                                                        Plaintiff(s),             AND 7007.1, AND LBR 1007-4


                                                                                                             [No hearing]
                                                                     Defendant(s).



Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit, that is a debtor in a voluntary case
or a party to an adversary proceeding or a contested matter shall file this Statement identifying all its parent corporations and listing any publicly
held company, other than a governmental unit, that directly or indirectly own 10% or more of any class of the corporation’s equity interest, or
state that there are no entities to report. This Corporate Ownership Statement must be filed with the initial pleading filed by a corporate entity in a
case or adversary proceeding. A supplemental statement must promptly be filed upon any change in circumstances that renders this Corporate
Ownership Statement inaccurate.

I, (Printed name of attorney or declarant)          Syed Sajjad Hussain           , the undersigned in the above-captioned case, hereby declare
under penalty of perjury under the laws of the United States that the following is true and correct:




           This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                                     Page 1                         F 1007-4.CORP.OWNERSHIP.STMT
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                           EUGO HARRIS P. EJIKE
                           21671 GATEWAY CENTER DR STE 205
                           DIAMOND BAR, CA 91765-2468




                           SAN BERNARDINO TAX
                           COLLECTOR
                           268 W HOSPITALITY LN FL 1
                           SN BERNRDNO, CA 92415-0900



                           VAL-CHRIS INVESTMENTS
                           2601 MAIN ST STE 400
                           IRVINE, CA 92614-4213
